                Case 18-26085-RAM          Doc 23    Filed 03/19/19     Page 1 of 2




     ORDERED in the Southern District of Florida on March 18, 2019.




                                                               Robert A. Mark, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   IN RE:                                                              CASE NO.: 18-26085-RAM
                                                                                   CHAPTER 7
   Barry De Verteuil,
   aka Barry Alan De Verteuil
   aka Barry Allan De Verteuil
   aka Barry A De Verteuil,

         Debtor.
   _________________________________/

               ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
         THIS CASE came on consideration without a hearing on U.S. BANK NATIONAL
  ASSOCIATION, AS TRUSTEE, SUCCESSOR IN INTEREST TO LASALLE BANK
  NATIONAL ASSOCIATION, AS TRUSTEE FOR LEHMAN XS TRUST MORTGAGE
  PASS-THROUGH CERTIFICATES, SERIES 2006-8’s (“Secured Creditor”) Motion for Relief
  from Stay (Docket No. 21), and the movant by submitting this form of order having represented
  that the motion was served on all parties required by Local Rule 4001-1, that the 14-day response
  time provided by that rule has expired, that no one has filed, or served on the movant, a response
  to the motion, and that the form of order was attached as an exhibit to the motion. Accordingly,
                Case 18-26085-RAM         Doc 23      Filed 03/19/19    Page 2 of 2



it is:
         ORDERED:
     1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
     2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
         Creditor’s interest in the following property located at 9423 SW 138 Place, Miami,
         Florida 33186, in Dade County, Florida, and legally described as:
         Unit No. 9423, Building 9, PARC VISTA, A CONDOMINIUM, according to the
         Declaration of Condominium thereof, as recorded in Official Records Book 22236,
         Page 3262, of the Public Records of Miami-Dade County, Florida.

     3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
         Creditor to exercise any and all in rem remedies against the property described above.
         Secured Creditor shall not seek an in personam judgment against Debtors.
     4. Secured Creditor is further granted relief in order to contact the Debtors by telephone or
         written correspondence in order to discuss the possibility of a forbearance agreement,
         loan modification, refinance agreement or loan workout/loss mitigation agreement.
     5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
         Rule 4001(a)(3) is granted.
     6. Attorneys’ fees in the amount of $750.00 and costs in the amount of $181.00 are awarded
         for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
         Debtor(s) or the Debtor(s)’ Bankruptcy estate.
                                                ###
Submitted by:
Christopher P. Salamone, Esq.
Robertson, Anschutz & Schneid, PL
Attorney for Creditor
6409 Congress Ave., Suite 100
Boca Raton, FL 33487
561-241-6901
csalamone@rasflaw.com

Christopher P . Salamone is directed to serve copies of this order on interested parties and file a
certificate of service.
